IN run cHANcERY counr Fon run sTATE or TENNEssE §

0 COURT
14"' JUDICIAL nrsTRICT FFEE°°'~'"" "'
JUN U'i ZL§`!U
SCHMLEDE CORPORATION, )
) \
Piaimirr, ) mE-m£°-A'W®
.- » )
v. ) CaseNo.lO'£@B
. )
FEDERAL INSURANCE COMPANY, )
)
Defendant. )

COIVIPLAINT

Schmiede Corporation (“Schmiede”) for its Complaint against Federal insurance

Company (“Feder ”) alleges as follows:

1. Schmiede is a Tennessee corporation that operates a business in Coffee County,
Tennessee.
2. Federal is an Indiana corporation engaged in the insurance business Federal is

one of the “Chubb Group” of insurance companies

3. Federal issued Schmiede these excess and umbrella insurance policies (the

“Excess Policies”):

§olicy Number !L`og Coverage

7945-60-15 01/01/98-01/01/99 $5 million per occurrence / aggregate
7945-60-16 01/01/99'01/01/00 $5 million per occurrence / aggregate
7945»60-16 01/01/00-01/01/01 $S million per occurrence / aggregate
7945-60-16 01/01/01-01/01/02 $5 million per occurrence / aggregate
7945 -60-16 01/0]/02-01/01/03 $5 million per occurrence / aggregate
7945~60-16 01/01/03-01/01/04 $ million per occurrence / aggregate

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Schmiede paid Fecleral in full the premiums due for each of the Excess Policies and has
otherwise fully complied with all the terms and conditions of the Excess Policies.

4. In 2004, a group of plaintin"s filed suit against Schmiede (the “2004 Lawsuit”).
The current style of the 2004 Lawsuit is §§al Egkg;, et al. v. Brush Wellmg, lnc., et al., U.S.
District Court, Northern District of Georgia, No. l:O4-CV-0606. The plaintiffs in the 2004
l_,awsuit allege that, in the course of employment with Lockheed Martin, they (or, in the case of
some of the plaintiffs, their family members) were exposed to beryllium-containing products
manufactured by Schmiede and/or others. The plaintiffs in the 2004 Lawsuit claim injury and
loss due to this alleged work-place exposure to products containing beryllium.

5. Schmiede gave Federal timely notice of the 2004 Lawsuit.

6. By letter dated Ju.ne 3, 2004, Fecleral informed Schmiede that Fedcral had
“concluded that no coverage will apply.” A copy of Federal’s June 3, 2004 letter is attached as
Exhibit A and incorporated by reference

7. Federal based its denial of coverage on an exclusion for “pollution liabili .”
Such exclusions are intended to shield insurance companies from the enormous potential
exposure associated With environmental litigation The “pollution liability” exclusion at issue
was not intended to, and does not, apply to claims such as those made by the plaintiffs in the
2004 Lawsuit.

8. In 2008, a group of plaintiffs filed suit against Schmiede (tlie “2008 Lawsuit”).
The current style of the 2008 Lawsuit is Timothy_ P. Bemb§, e_t al. v. Brush Wellxnan, Inc., et al.,
U.S. District Court, Northern District of Georgia, No. l'.08-CV-2725. The plaintiffs in the 2008
Lawsuit allege that, in the course of their employment with Locl<heed Martin, they were exposed

to beryllium-containing products manufactured by Schrniede and/or others. The plaintiffs in the

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plaintiffs in the 2008 Lawsuit claim injury a.nd loss due to this alleged work-place exposure to
products containing berylli\nn.

9. Schrniede gave Federal timely notice of the 2008 Lawsuit.

lO. By letter dated April 24, 2009, F ederal informed Schmiede that F ederal had
“concluded that its coverage position is the same as that stated in its correspondence dated June
3, 2004. . .”. A copy of Federal’s April 24, 2009 letter is attached as Exhibit B and incorporated
by reference

11. Schmiede believes the claims asserted against it in the 2004 Lawsuit and the 2008
Lawsuit are without merit. Schmiede has denied, and is contesting, those claims. Federal,
however, does not have a legitimate basis for denying Schmiede the full protection of the
insurance for which Sch.miede paid Federal. Federal’s denials of coverage for the 2004 Lawsuit
and the 2008 Lawsuit constitute an anticipatory breach of Federal‘s contractual obligations to
Schrniede under the Excess Policies. Schrniede is entitled to a declaration from the Court,
pursuant to Tennessee Code Annotated Sections 29-14-101 to -l 13, that F ederal may not use the
“pollution liability” exclusion in the Excess Policies to deny coverage for the claims asserted in
the 2004 Lawsuit and the 2008 Lawsuit.

WHEREFORE, Schrniede respectftu requests a declaratory judgment that Federa.l may
not use the “poliution liability” exclusion in the Excess Policies to deny coverage for the claims
asserted in the 2004 Lawsuit and the 2008 Lawsuit; a monetary judgment to the extent Schmiede

incurs any loss as a result of Federal’s denials of coverage; an award of costs; and such other

relief as the Court deems just

3
EXHIBIT A

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Respectl"ully submitted_,

HARWELL I-IOWARD HYN'E
GABBERT & MANNER., P.C.

By:

 

D. Alexander Fardon (No. 13787)
315 Deaderick Street, Suite 1800
Nashville, Tennessee 37238
Telcphone: 615-256-0500
Facsimile: 615-251~1058

Email: daf@h_’>gm.com

Attomeysfor the Schmz‘ede Corporation

4
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E)GIIBIT A

lime 3. 2004 `

CERTlFlED MAlL ~ RRR
#7002 3150 OOOI 64\6 4329

Mr. Mll<e Butler

Schmelde Corporation

P.O. Box 1630 ,
Tullahoma, TN 37388 '

Couit, Northern District of Georgia, Atlmra Division
O\!r Filo Numbe.r! 794$~60-16/001
Policyholder: Schmelde Corporation

ne No. 1;04-cv.osos-, Neaz Parker, er ali Bmh Wezzman, !aa. er al; us owner `
l
Company: Federal lnsurance Company (“Fedeml")

Deal' Mr. Butler,

Thls correspondence will provide you with Federal's position regarding coverage for the above
matter, in which the plaintiffs allege that they have been exposed tn and injured by beryllium due
to their use oi‘beryllium-oontaining products at the Locklioed facility in Marietta, Georgia. The
plaintiffs’ Complaint, originally filed in the Superior Court of Fulton Couoty, Georgia, alleges
that Sehmiede (sie) Mnchine and Tool Corporation and various other defendants were
“manzg'aclurers, fabricators distributors or machiners of belyl!ium-con:ar’ning produch sold lo

and used at the Loclcheed Marie¢tajbcili¢y". The plaintiffs seek to establish a class action and
seek damages as well as medical monitoring

We have reviewed the following policies issued by Fedexal to Schmoide Corpo!ation:

7945-60-15 01/0[/l99S-Ol/01/1999 55 million per oceurrenedaggregate
7945‘60-1 6 01/01/1999-01/01/2000 $5 million per occurrence/aggregate
7945-60~16 01/0!/2000~01!01/2001 $5 million per occurrence/aggregate
7945-60-\6 Ol/OlIZOOl-Ol/Ql/ZOOZ 55 million per occurrencdaggregato
7945-60~16 01/0!/2002~0\/01/2003 SS million per occurrence/aggregate

Bascd upon our review of this matter and the policies, we have concluded that no coverage will
apply. This will be outlined further betow.

. , . - . EXHIBITA
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» 'June 3, 2004
Mr. Mil<e Butler
Pnge 2

The policia listed above provide coverage in two sections, Coverage A and Coverage B.
C°\’¢\'age A follows form to the wording of tire scheduled underlying insurance, to the extent that
Covemge A is silent, and would not apply until the limits available in the underlying policies
have been exhausted by payment of covered claims. Aocordingly, until a covered loss exceeds
the limits available in the underlying policies, Covemge A will not be subject to a claim.

Covcrage B provides coverage for damages with respect to liability loss in excess of the retained
limit or the amount payable by any other insurance because of bodily injury which occurs during
the Policy Pet'iod and is caused by an occurrence Coverage B will not respond to any matter

which is covered by underlying insurance even if the limits of the underlying insurance arc
exhausted

The following definitions, applicable to Ooveragc B and quoted in pertinent part where
applicable, are included in the policies issued between lenuery l, 1998 and Iammry l, ’LOOZ.

Bodlly injury means physical injury, sickness or disease to a person
and, if arising out of the foregoing, mental anguish, mental injury,
shock or humiliation, including death at any time resulting therefrom

 

Occumnce means:

l. with respect to bodily injury or property drainage liability, an '
aecident, including continuous or repeated exposure to
substantially the same general harmful conditions.

The policy in effect from .lanuery l, 2002 to January l, 2003 includes the following delinitions. l

pertaining to Coverage B:
Bodt`ly lnju)y Bodil'y injury means physical;
l injury;
sickness; or
disease',

Sustai ned by a person. including resulting death, humiliation,
mental anguish, mental injury or shock at any time. All such loss
shall be deemed to occur al the time of the physical injury,
sickness or disease that caused it.

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'.lune 3, 2004
Mr. M ike Butler "
Page 3

Occurrence Oceurrence means an accident, including continuous or repeated

exposure lo substantially the same general harmful conditions

Please note that bodily injury must occur during the effective dates of one of the policies for that
policy to apply. in this matter, it is unclear whether bodily injury occurred during the effective
dates of any of the polioies. in addition to the coverage position set forth in this correspondence

Federal reserves the right to address this issue timber at a later date, should additional
information become available `

P.ach of the policies at issue in this correspondence includes exclusionary language as to matters
arising out of pollution or pollutants '[‘nese exclusions are applicable to Covmge A and
Coverage B, and serve to bar coverage for this matteo ln the interest of brevity, we will not otto
each of these exclusions but instead will quote one of them as an example and refer you to the
policies for the exact wording of each exclusion 'D\e policies in effect from January I, 1998 to
January l, 2002 include the following exclusion applicable to Covera.ge A, by endorsement:

THIS PO`LICY lS SUBJECT TO THE FOLLOWING ENDORSEMENT

Under "Exclusions", "Applicabie to Coverage A Only", the exclusion titled
"Pollution liability" is deleted and replaced with the following

Pollution liability

l. any liability arising out of the nctual, alleged or threatened

discharge, dispersal, migration, seepage, release or escape oi'
pollutant¢.

2. any loss, cost or expense arising out of any:

a. requesr, demand or order that any insured or others test for,
monitor, clean up, remove, contain, treat, detoxify, or

neutralize, or in any way respond to, or assess the effects ot' l
polluwnts‘, or '

b. claim or suit by or on behalf of any governmental authority or
others for damages because of testing Eor, monitoring,
cleaning up, removing containing troating, detoxifying, or

neutralin'ng, or in any way responding to, or assessing the effects
of pollutants

As used in this exelusion, pollutants means any solid, liquid, gaseous, or thermal irritant
or contaminant including smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste.
Wuste includes materials to be recycled, reconditioned, reclaimed or disposed ot`.

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`June 3, 2004
Mr. Milce Butler
Pnge 4

This exclusion applies whether or not the pollution was sudden, accidental, g,radtml.
intended, expected, uncxpected, preventable or not prcventable. l
The plaintiffs in this matter nrc seeking hinds for medical monitoring it is I-`edcrai's position
that medical monitoring does not fall within the policy definition ofbodiiy injury. l=edernl
reserves the right to raise this as an additional bar to coverage at a later dato.

 

Piease note that Covomge A. follows fcmn to the terms and conditions of the underlying primary
insurance whereas Covengc B will not respond to any matter which is insurable under the terms
and conditions of the underlying primary insurancc. As we do not have copies of the underlying
primary policies at this time, we must reserve the right to raise additional coverage defenses at a
later dale, based upon our review of the terms and conditions ofsarne.

Pleasc be advised that our position concerning this matter is based on the information currently
availablc. Should you have any questions with regard to our position please feel fica to contact
the undersigned at (BOO) 873-0777 or (214) 754-8584.

Sincerely,

 

Robert Townsend
Environxnental Examiner

RT.cm

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Case 4:1O-cV-00052-HSI\/|-SKL Document 1-1 Filed 07/30/10 Page 8 of 11 Page|D #: 12

 

 

.`-
-¢

EXH[BIT B

CHUBB GROUP OF iNSURA_NCE COMPAN|ES

 

2001 Bry€m Street. Suiie 3400. Daiias. TX 75201-3068 Pthe: (214) 754-0777

 

Apri\ 24, 2009 “S&’Y‘”"'°'W
E C

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mens 1140 oooz 9773 1557 APR 3 o zone

Mr. Mii<e nunn CONFIDENTIAL

Scinneidc Corporation

P.o. sort 1630 .

Tullahoma, 'I'N 37388

Re: No. l:08-CV-2725; Tlmothy Berube, et al v. Brush Wellman, lnc., et al; US
District Court. Norti\e.rn Distzict ofGeorgio., Atlnnta Division
Our File Number: 794$-60~16/00|
Policyholder: Schmeide Corporation
Company: Federai insurance Company (“l"ederai")

Desr Mr. Butlcr,

Federal acknowledges receipt of a copy of the Compiaint for Damages iiied in the above
matter, in which the plaintiffs allege injury arising out of exposure to beryllium contained
in products`usod at the Lockhecd faoiiity in Marietta, Georgia.

Federal has reviewed this matter and has concluded that its coverage position is the same `i
as that stated in its correspondence dated lime 3, 2004, a tile copy of which is attached
for your rcview.

Shouid you wish to discuss this furthcr, please feel free to contact the undersigned at 1
(800) 873~ 0777 or (214) 754-8584.

Sincereiy,

/%V g ._ l

Robcrt Townscnd
Environmonlai Exnm'mcr

Cc: Ms. lady Andrcws
BBB&T Insurancc Services
4400 Harding Rd., Suitc 400
Nashviiie, TN 37205

,_. . . . »» ~~ EXHIBIT A
Case 4:1O-cV-00052-HSI\/|-SKL Document 1-1 Filed 07/30/10 Page 9 of 1_1 Page|D #: 13

 

 

 

t_.#_
CHANCEF|Y COUHT SUMMONS ' ' '“" MANCHESTER TENNESSEE

STATE OF TENNESSEE - COUNTY OF COFFEE F" E

 

 

 

 

14“‘ JuolctAL olsTnlcT CHmcenvcounr
COFFEE COUNTY. TH
SCHMIEDE CORPORATION, l l
JUl\l il l lelll
PlBin“`H ‘"ME !E gel do
vSE;E L INSU'RANCE COMPANY F|LE NO. 10 ' O% AM@
lVED
Deiendant JU,_ ~, 2 mm
CHANC
To the above named Fiespondent: Federal Ins“rance C°mpany T/M °°F€EE§ZZCOURT

 

c/o 'I‘N Department of Commerce and InsM>`:§M§PM

500 James Robertaon Parkway
Nashville, TN 37243

You are summoned io appear and defend a civil actlon died against you in Chancery Court, Colfee C‘,cuntyl
Tennessee. and your defense must be made within thirty (30) days from the date this summons ls served upon you.

You are further directed to file your defense with the Cierk ot the Court and send a copy to the Peticioner's attorney at
the address listed below.

 

ln case of your failure to defend this action by the above date, judgment by default will be rendered against
you for the relief demanded in the complaint

QO|e
lsSUED. l zeee
c o'r'rE v. anoYLEs, cLEnt< a MAsTEn

` /looQ/M-J\

 

 

 

[ Doputy Clerk
ATTonNEv Fon PETIT|oNEn D- Alexander Fardon
or Harwell How'ard Hyne Galobert: & Me,nner, P.C.
_ 315 Deaderick Street, Suit'e 1800, Nashville, TN 37238
PE l'lT\ONER'S ADDRESS

 

 

NO'|'|CE

TO THE DEFENDANT(S):

Tennessee law provides a four thousand dollar ‘($4,000) personal property exemption from execution or seizure to satisfy a
judgment. ll ajudgment should be entered against you in this action and you wish to claim property as exempt, you must
tile a written list. under oath, of the items you wish to claim as exempt with the clerk of the court. The list may be filed at any
time and may be changed by you thereafter as necessary; however. unless it is filed before the judgment becomes fina|, it
will not be effective as to any execution or garnishment issued prior to the filing of this list. Certain items are automatically
exempt by law and do not need to be listed; these items include items of necessary wearing apparel for yourself and your
family and trunks or other receptacles necessary to contain such apparel, family portraits, the family Bible, and school
books. Should any of these items be seized you would have the right to recover them. lt you do not understand your
exemption right or how to exerciseL y@u may wish to seek the counsel of a LM/ewrC.A. 26-2-114)

TO THE SHERIFF: Please execute this summons and make your return hereon as provided by law.

CHARLOTTE V. BOYLES, CLERK & MASTER

BY ,D.C.
Receivcd this summons for service this day of . 2008

 

Offt¢cr

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STATE 0F TENNESSEE
Departmont of Commorco and lnsurance
500 James Robertson Parkway
Nashville, TN 37243-1 131

brenda.meacle@tn.gov RECE'VED
JUL "Z 2010
J 07, 201 CHA
"'y 0 T,M cos¢é“'§§‘§,{,gg¢inr
WPM
Federal insurance Company Certifled Mai|
800 S. Gav Street. Ste 2021, % C T Corp. Return Receir)t Requested
Knoxvi|le, TN 37929-9710 7009 2820 0003 2647 8484
NAlC # 20281 Cashier # 4078

Re: Schmiede Corporatlon V. Federal|nsurance Company

Docket # 10-208

To Whom lt May Concern:

Pursuant to Tennessee Code Annotated § 56-2-504 or § 56-2-506, the Depadment of
Commerce and lnsurance was served .lun`e 30, 2010. on your behalf in connection with the
above-styled proceeding Documentation relating to the subject is herein enclosed

Brenda C. Meade
Deslgnated Agent
Service of Process

Enclosures

cc: Chancery Court Clerk
Coffee County
300 Hll\sboro Blvd, Box 8
Manchester, Tn 37355

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